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                   ANHEUSER-BUSCH, LLC
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         12                            UNITED STATES DISTRICT COURT
         13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
         14                           WESTERN DIVISION – LOS ANGELES
         15
         16        PATAGONIA, INC. and                Case No. 2:19-cv-02702-VAP
                   PATAGONIA PROVISIONS, INC.,
         17                                           DEFENDANT’S NOTICE OF MOTION AND
                                 Plaintiffs,
         18                                           MOTION TO DISMISS CLAIMS THREE
                        v.                            THROUGH SEVEN OF PLAINTIFFS’ FIRST
         19                                           AMENDED COMPLAINT [FED. R. CIV. P.
                   ANHEUSER-BUSCH, LLC dba
         20        PATAGONIA BREWING CO. ,            12(B)(6)] AND MOTION FOR A MORE
                                                      DEFINITE STATEMENT [FED. R. CIV. P.
         21                      Defendant.           12(E)]
         22
                                                      Hearing Date: August 19, 2019
         23                                           Time: 2:00 P.M.
         24                                           Court: Courtroom 8A, 8th Floor
                                                      Judge: Hon. Virginia A. Phillips
         25
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  COOLEY LLP                                              DEFENDANT’S NOTICE OF MOTION AND MOTION TO
ATTORNEYS AT LAW
  LOS ANGELES
                                                                 DISMISS CLAIMS THREE THROUGH SEVEN
                                                                         CASE NO. 2:19-CV-02702-VAP
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            1      TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
            2            PLEASE TAKE NOTICE that on August 19, 2019, at 2:00 p.m., at the Edward
            3      R. Roybal Federal Building and United States Courthouse, 255 East Temple Street, Los
            4      Angeles, California, 90012, Defendant Anheuser-Busch, LLC dba Patagonia Brewing
            5      Co. (“AB”) will and hereby does, pursuant to Federal Rules of Civil Procedure 12(b)(6)
            6      and 12(e), move to dismiss the Third, Fourth, Fifth, Sixth, and Seventh Claims in
            7      Plaintiffs Patagonia, Inc. and Patagonia Provisions, Inc.’s First Amended Complaint for
            8      failure to state a claim for relief and for a more definite statement:
            9                  Claim 3 (Federal Dilution of Famous mark) fails because Plaintiffs do not
         10                      allege facts sufficient to support their conclusory statement that their
         11                      PATAGONIA mark is famous. Further, a more definite statement is
         12                      necessary as the allegations are ambiguous as to (i) which trademark(s)
         13                      Plaintiffs allege is famous, (ii) who owns the famous trademark(s) at
         14                      issue, or (iii) when such trademark(s) became famous.
         15                    Claim 4 (Trademark Infringement and Unfair Competition under
         16                      California Statutory Law) fails because it cites inapplicable statutes and
         17                      states no facts supporting a claim for dilution under the cited California
         18                      statute.
         19                    Claim 5 (Cancellation of Trademark Registration based on 15 U.S.C. §
         20                      1119) fails because Plaintiffs do not plead facts to support a claim for
         21                      abandonment or a violation of the anti-trafficking rule.
         22                    Claim 6 (Cancellation of Trademark Registration based on 15 U.S.C. §
         23                      1052(a)) fails because Plaintiffs’ conclusory allegations are insufficient
         24                      to state a claim for relief and this defect may not be cured.
         25                    Claim 7 (Cancellation of Trademark Registration under 15 U.S.C. § 1119
         26                      based on alleged fraudulent procurement) fails because Plaintiffs do not
         27                      plead fraud with particularity and do not state a claim for relief as a matter
         28                      of law.
  COOLEY LLP                                                            DEFENDANT’S NOTICE OF MOTION AND MOTION
ATTORNEYS AT LAW
  LOS ANGELES
                                                              1.          TO DISMISS CLAIMS THREE THROUGH SEVEN
                                                                                     CASE NO. 2:19-CV-02702-VAP
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            1            This motion is made following the conference of counsel pursuant to Local Rule
            2      7-3, which took place on June 12, 2019.        Declaration of Amanda Main (“Main
            3      Declaration”) at ¶ 2. This Motion is based upon the accompanying Memorandum of
            4      Points and Authorities, Request for Judicial Notice and Exhibits in support thereof, the
            5      Main Declaration, other pleadings that may be filed, any oral argument, and upon all
            6      other matters of record herein.
            7
            8
                   Dated:      July 3, 2019                COOLEY LLP
            9
         10                                                /s/ Bobby A. Ghajar
                                                           Bobby A. Ghajar
         11                                                Amanda A. Main
                                                           Dina Roumiantseva
         12                                                Attorneys for Defendant
                                                           ANHEUSER-BUSCH, LLC
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  COOLEY LLP                                                          DEFENDANT’S NOTICE OF MOTION AND MOTION
ATTORNEYS AT LAW
  LOS ANGELES
                                                            2.          TO DISMISS CLAIMS THREE THROUGH SEVEN
                                                                                  CASE NO. 2:19-CV-02702-VAP
